AO 247 (02/08) Order Regarding Motion for Sentence Reduction



                                               United States District Court
                                                     Eastern District of Wisconsin
      UNITED STATES OF AMERICA
                                                                     ORDER GRANTING MOTION FOR SENTENCE
                    V.                                               REDUCTION PURSUANT TO 18 U.S.C. § 3582(c)(2)

                                                                     Case Number: 96-CR-148
      ANTHONY TERRELL BEAN                                           Marshal Number: 05011 -089

 DATE OF PREVIOUS JUDGMENT:                                           Gregory Parr                   Mel Johnson
 February 10, 1998                                                    Defendant's Attorney           Assistant United States Attorney


        Upon motion of the : the defendant 9 The Director of the Bureau of Prisons 9 the Court under 18 U.S.C.
 § 3582(c)(2), for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
 subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
 § 994(u), and having considered such motion,

           IT IS ORDERED that the motion is
                     9 DENIED. : GRANTED and the defendant’s previously imposed sentence of imprisonment (as
           reflected in the last judgment issued) of                196              months is reduced to 156 months.

 I.        Court Determination of Advisory Guideline Range

           Previous Offense Level:    36                            Amended Offense Level:     34
           Criminal History Category: I                             Criminal History Category: I
           Previous Guideline Range: 188-235 months                 Amended Guideline Range: 151-188 months

 II.       Sentence Relative to Amended Advisory Guideline Range

           :         The reduced sentence is within the amended advisory guideline range.
           9         The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time of
                     sentence as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the amended
                     guideline range.
           9         Other (explain):

 III.      Additional Comments

         Except as otherwise provided herein, all provisions of the original judgment dated February 10, 1998, shall remain intact, and the
 same are incorporated herein by reference as though set forth herein at length.

           Dated at Milwaukee, Wisconsin this 10th day of December, 2008.

                                                                                BY THE COURT:

                                                                                /s Lynn Adelman

                                                                                Hon. Lynn Adelman



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